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            1   Michael S. Devereux (SBN 225240)
            2                 WEX LAW
                    PROFESSIONAL LAW CORPORATION
            3    1000 WILSHIRE BOULEVARD, SUITE 2150
            4      LOS ANGELES, CALIFORNIA 90017
                     TELEPHONE: (213) 986-9844
            5
                     FACSIMILE: (213) 342-6190
            6
                Attorneys for PLAINTIFF , DANIEL NERSOYAN
            7

            8                      THE UNITED STATES DISTRICT COURT

            9                       CENTRAL DISTRICT OF CALIFORNIA
           10   DANIEL      NERSOYAN,          as   an       CASE NO.:
           11   individual,
                                                             COMPLAINT FOR:
           12                    PLAINTIFF ,
           13               v.                               (1) UNREASONABLE SEARCH
WEX LAW




                                                                AND SEIZURE OF PROPERTY
           14   COUNTY OF LOS ANGELES, a                        (42 U.S.C. §1983);
           15   county corporation, COUNTY OF LOS            (2) DEPRIVATION OF PROPERTY
                ANGELES SHERIFF’S                               WITHOUT DUE PROCESS;
           16   DEPARTMENT, a public entity,                 (3) VIOLATION OF
           17   SHERIFF JAMES MCDONNELL, in                     SUBSTANTIVE DUE
                his official capacity and as an                 PROCESS;
           18   individual, DEPUTY KENNETH                   (4) MUNICIPAL LIABILITY FOR
           19   COLLINS, individually and in his                UNCONSTITUTIONAL
                official capacity as a Deputy, as an            CUSTOM OR POLICY (42
           20   individual, and DOES 1-10.                      U.S.C. §1983);
           21                                                (5) CONVERSION;
                                 Defendant.                  (6) INFLICTION OF EMOTIONAL
           22                                                   DISTRESS
           23                                                (7) TRESPASS AGAINST
                                                                PERSONAL PROPERTY
           24

           25                                                 DEMAND FOR JURY TRIAL
           26
           27   CASE NO.:                                1                COMPLAINT
           28
          Case 2:19-cv-08109-SVW-MAA Document 14 Filed 10/15/19 Page 4 of 5 Page ID #:57



            1   Michael S. Devereux (SBN 225240)
            2                 WEX LAW
                    PROFESSIONAL LAW CORPORATION
            3    1000 WILSHIRE BOULEVARD, SUITE 2150
            4      LOS ANGELES, CALIFORNIA 90017
                     TELEPHONE: (213) 986-9844
            5
                     FACSIMILE: (213) 342-6190
            6
                Attorneys for PLAINTIFF , DANIEL NERSOYAN
            7

            8                      THE UNITED STATES DISTRICT COURT

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           10   DANIEL      NERSOYAN,          as   an       CASE NO.:
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WEX LAW




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           16   DEPARTMENT, a public entity,                 (3) VIOLATION OF
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           21                                                (5) CONVERSION;
                                 Defendant.                  (6) INFLICTION OF EMOTIONAL
           22                                                   DISTRESS
           23                                                (7) TRESPASS AGAINST
                                                                PERSONAL PROPERTY
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           25                                                 DEMAND FOR JURY TRIAL
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           27   CASE NO.:                                1                COMPLAINT
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                     Michael S. Devereux (SBN 225240)
                  
                                     WEX LAW
                           PROFESSIONAL LAW CORPORATION
                              
                        1000 WILSHIRE BOULEVARD, SUITE 2150
                        LOS ANGELES, CALIFORNIA 90017
                             TELEPHONE: (213) 986-9844
                  
                             FACSIMILE: (213) 342-6190
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